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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA          *
                                  *
      v.                          *   CRIMINAL NO. TDC-19-200
                                  *
ERIC EION MARQUES,                *
                                  *
           Defendant.             *
                                  *
                                *******
      UNITED STATES NOTICE OF WITNESS TO SPEAK AT SENTENCING

       The United States of America, by and through Jonathan F. Lenzner, Acting United States

Attorney for the District of Maryland, and Thomas M. Sullivan, Assistant United States Attorney

for said District, respectfully submits this Notice of Witness to Speak At Sentencing, and states as

follows:

       On February 6, 2020, defendant Eric Eoin Marques pled guilty to Conspiracy to Advertise

Child Pornography, in violation of 18 U.S.C. § 2251(d)(1)(A) & (e). Pursuant to the Defendant’s

plea of guilty, this Court issued a Regular Sentencing Order (ECF 64) directing that, if counsel for

either party intends to call any witnesses at the sentencing hearing, counsel shall submit the

following information: (a) the names of the witnesses, (b) a synopsis of their anticipated testimony,

and (c) an estimate of the anticipated length of the hearing.

                                  Law Enforcement Testimony

       The government advises the Court and counsel for Defendant that the government

anticipates calling a member of law enforcement to testify to the evidence found on the

Defendant’s electronic devices and servers to include, but not limited to, the amount and type of

child sexual abuse material (“CSAM”) websites, and their content, that were found on the

Defendant’s servers. This testimony will also cover the Defendant’s role in the conspiracy to

advertise and distribute child sexual abuse material on his servers, and his role and place in the
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world in the advertisement and distribution of CSAM material. The witness will also testify how

Freedom Hosting worked for users and websites, and steps the Defendant took to protect his

identity and the identities of his coconspirators. The witness will also testify that the Defendant

obstructed justice and was looking to abscond from justice when he was arrested. The witness

will also testify about the Defendant’s access to CSAM websites.

       The United States anticipates that the witness’ testimony will include the Defendant’s

identification by law enforcement as the largest purveyor of CSAM in the world; the number of

new images discovered (over 1.5 million); the type of CSAM discovered (involving infants,

toddlers, sadomasochism, torture, and bestiality, among other types); steps users needed to take to

access and maintain membership on some of the CSAM websites hosted on the Defendant’s

servers (including a requirement to produce new CSAM); and the amount of money the Defendant

made from his servers (approx. $3.6 million USD). The witness will also testify to and describe

some of the videos and images recovered.

       The government estimates that the witness’s testimony (exclusive of any cross-

examination) will take approximately 90 minutes.



                                             Respectfully submitted,

                                             JONATHAN F. LENZNER
                                             Acting United States Attorney

                                      By:    /s Thomas M. Sullivan
                                             Thomas M. Sullivan
                                             Assistant United States Attorney
                                             (301) 344-0173




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